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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
DONIA GOINES,
Plaintiff,

v. CaSe NO: 2:17-CV-656-FtM-29UAM

LEE MEMORIAL HEALTH SYSTEM
and JEOVANNI HECHAVARRIA,

Defendants.

 

ORDER

 

This matter comes before the Court on review Of the exhibits
submitted by plaintiff in support of its Response in Opposition
(Doc. #174) filed on March 8, 2019. Upon review, the Court finds
the exhibits should be filed, but maintained under seal.

Accordingly, it is herby

ORDERED:

The Clerk shall file and maintain the attached exhibits under
seal.

DONE and ORDERED at Fort Myers, Florida, this j£§j£?day of

March, 2019.

 

Copies;
Counsel of Record

